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CLD-243                                       July 2, 2020
    UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                      C.A. No. 20-1343

RAHMAN R. FULTON, Appellant

       VS.

UNITED STATES OF AMERICA

       (D.N.J. Civ. No. 2:18-cv-16526)

Present:      JORDAN, KRAUSE and MATEY, Circuit Judges

              Submitted are:

              (1)    Appellant’s notice of appeal, which may be construed as a request
                     for a certificate of appealability under 28 U.S.C. § 2253(c)(1); and

              (2)    Appellant’s motion for notification of default

              in the above-captioned case.

                                            Respectfully,

                                            Clerk

________________________________ORDER_________________________________

        Fulton’s request for a certificate of appealability is denied because he has not “made
a substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2).
Jurists of reason would agree, without debate, that all of Fulton’s claims are meritless, for
the same reasons provided by the District Court. See Miller-El v. Cockrell, 537 U.S. 322,
327 (2003). In light of this disposition, we deny Fulton’s motion for summary disposition
of this appeal as moot.

                                                            By the Court,

                                                            s/ Paul B. Matey
                                                            Circuit Judge
Dated: July 10, 2020
ARR/cc: RRF; MEC            Certified as a true copy and issued in lieu
                            of a formal mandate on 07/10/2020


                           Teste:
                           Clerk, U.S. Court of Appeals for the Third Circuit
